Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 1 of 38




                   Exhibit 30
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 2 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 3 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 4 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 5 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 6 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 7 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 8 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 9 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 10 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 11 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 12 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 13 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 14 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 15 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 16 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 17 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 18 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 19 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 20 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 21 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 22 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 23 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 24 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 25 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 26 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 27 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 28 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 29 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 30 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 31 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 32 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 33 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 34 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 35 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 36 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 37 of 38
Case 2:10-md-02179-CJB-DPC Document 8910-43 Filed 03/15/13 Page 38 of 38
